Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 1 of 10

EXHIBIT 1 -
“Summons and Complaint”

EXHIBIT 1 -
“Summons and Complaint”
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 2 of 10

 

 

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SUMMONS POH COMRTUSEONLY
(CITACION JUDICIAL) mee
RTE Tc}
NOTICE TO pW oon F
oWO AL Selabe At pis Harrah's Laughlin, LLC, and DOES 1 TO 20 borers ear ie ow
ae. RNOS 2 |.
YOU ARE BEING SUED BY PLAINTIFF: LENA SCHIBYE BE Y ASON"B. ALIN
(LO ESTA DEMANDANDO EL DEMANDANTE): JEMECUTH-E CENESR 3 CLERK!
. _ By: T. Rune, Dae. cy Clerk
{NOTICET Yoo have Goan: Te rat ae sr yeu withaul your balng heard unless you reapond wihin GO-days, Road he Infonmnllon

    
  
  
 
  

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cout “TCASE NUMBER: (Name fo al Col

     
  
    

  

 

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(Elnombre a in de le corte): SuPerior Court of California, County of N CUZ — 08
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coi stn Dolp!

| NOTICE TO THE PERSON SERVED: You are served oS L

4. (C7) a8 an Individual defendant.

| 2, [) asthe persan subd under ears Lastly LLC

3. tm on behalf of (specify):

  
 

 

 

 

 

 

 

 

 

 

 

 

under: [~~] CCP 416.10 (corporation) CCP 416.60 (minor)
[_] CCP 418.20 (defunct corporation) ‘{C] CCP 416.70 (consarvaies)
(—] CCP 418.40 (association or partnership) [] CCP 416.80 (authorized parson)
r (specityy: LCC
4. [_] bye dellvery on (date)
~ SUMMONS Code af Givi Procadwrn § 412,20, 485
Fob out green we orien PAS.
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 3 of 10

eats — pes nang OEE Be an PLO-PI-004
‘irroni ey On Fare’ WathinUT AU IUMNEY (itn, “Sale Oot nomibee, snd addeuss, sees sytem " * ———
Kathryn T Gamerlengo, Eeq (88 NO. 308097) FOR COURT USE ONLY

] GRAY*DUFFY, LLP

| $55 Twin Dolphin Orive, Sulle 300
F Redwood Clly, CA 94086 cs
TELEPHONE NO: (680) 365-7343 PAXNO (Oplionel: (660) 385-8225 ats eae
EUAN, ADORESN (Cplfons): koamariengo@grayduffylaw.com SUPERIOR CR teres
ATIORAEY FOR (Memo Plaintiff LENA SCHIBYE oa. He a 0
_ {SUPERIOR COURT OF CALIFORNIA, COUNTY OF NEVADA A AYN OD

| syaeeraooress: 201 Church Street 5 eens et
FMatiune ADDHESR: JASE nS BARN CLERK

jer ano zp cone ~=Nevada City, 95959 Exec! OE Z, Denuly Clerk
|. __ beancu wae NEVADA CITY COURTHOUSE _. i
PLAINTIFF: “LENA SCHIBYE
DEFENDANT: HARRAH's LAUGHLIN, le

ie] DOES 1 TO_20 |

COMPLAINT=Porsonal Injury, Property Damage, Wrongful Death Bate ete
LE _) AMENDED (Number):

ne feheck all that apply):

“ “] MOTOR VEHICLE = (| OTHER (specify):

(J Property Damage [_} Wrongful Death

el Penoas injery__ [2] Other Damages (spiocily): ~ i.
Jurisdiction (check alt thet apply): CD 20-0 e+ 17

r ne} ACTION |S A LIMITED CIVIL. CASE
Amount demanded , does not exceed $10,000
exceeds $10,000, but does not exceed $25,000
[_¥_.) ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
}~ 7] ACTION IS RECLASSIFIED by tha amended complaint
i] from limited to unlimited
_ £2] from unlimited to limited
1. Plaintiff (name or names); LENA SCHIBYE
alleges causes of action agelnet defendant (name or names):
HARRAH's LAUGHLIN, LLC FILE
2, This pleading, including attachments and exhibits, consists of the following number af pages: 2 BY FAX
3. Each platntiff named above Is a competent adult
a. [__] except plaintiff (name)
(1) [7 @ corporation quatified to do business In California
(2) (J an unincorporated entity (describe):
(3) (2) 4 public entity (describe):
()C_} aminor ([(_] anaduti
(a) CI for whom a guardian or conservator of the estate or a guardian ad liter has been appointed
(6) [_] other(specify):

(6) [—] other (specify):
b. ((_] except plaintiff (name):

(1) (J a@ corporation qualified to do business in California

(2) C_] an unincorporated entity (describe):

(3) [__] 2 public entity (describe):

(4)(_) aminor § [[7} an adult
(a) (_) far whom a guardian or conservator of the estate or a guardian ad litem has been appointed
(b) (} other (specify):

(5) [=] other (spaciy):

(C_] information about additional plaintifis who are not competent aduils Is shown in Attachment 3.

 

 

 

see yt ee)

 

 

 

 

 

 

 

 

 

 

 

 

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Form Apeioved toe Oplan Uru COMPLAINT—Personal injury, P roperty Cgae A tA Pas aaa, §42% 14

dudicto! Councd of Galfomia AW} arth aay Bh
PLO-PL-Ogt [fav January 1,-200/4 Damage, ‘Wrorigful Death
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 4 of 10

 

 

 

 

< cecaitecit aie ae ol tts. a P LOO
SHORT TITLE: Schibye v. Harrah's Laughlin, LLC Case NUMEEE:
4. [_]) Plaintiff (name):
ls doing business under the fictitious name (specify):
and haa complied with the fictitiovs business name laws.
6, Each defendant named above is a natural person
a, ["] except defendant (name); HARRAH's LAUGHLIN,LLC = c. [_] except defendant (name):
(1) (Fal a business organization, form unknown (1) [7] a business organization, form unknown
(2) | —*] a corporation (2) (CJ a corporation
(3) ] an unincorporated entity (describe): (3) [[] an unincorporated entity (describe):
(4) [_] a public entity (describe): (4) ("_) a public entity (¢escrtba):
(5) 3€), other(specify): (5) [[) other/specify):
' @ limited flabiilty company
b. (__] except defendant (name): d. [[_] except defendant (name):
(1) (_] a business organization, form unknown (1) [—_] a business organization, form unknown
(2) (C_] a corporation (2) [__] 2 corporation
(3) (C_] an unincorporated entity (describe): (3) (_] an unincorporated entity (describa):
(4) ([_] a public entity (describe): (4) (C_] a public entity (describe):
(5) [—_] other (specify): (5) (__] other (specify):
[_] Information about additional defendants who are not natural persons Is contained in Attachment 5,
6. The true names of defendants sued as Does are unknown to plaintiff.
a. [i] Doe defendants (specify Doe numbers): 1-10 . _ were the agents or employees of other
named defendants and acted within the scope oF thatagentcy of. employment.
b. [7] Doe defendants (specify Doe numbers): 11-20 . . @f@ persons whose capacities are unknown to
plaintiff, oa

7, (Defendants who are joined under Code of Civil Procedure section 382 are (names):

8. This court is the proper court because

a, [J at least one defendant now resides In its Jurisdictional area.
; (—] the princlpai place of business of a defendant corporation or unincorporated association is In its jurisdictional area.
. [7] Injury to person or damage to personal property occurred In its jurisdictional area.

[—] other (specify):

oc

a.

9. [[_] Plaintiff is required to comply with a clalms statute, and
a, J has complied with applicable claims statutes, or
>. [__] is excused fram complying because (specify):

 

COMPLAINT—Parsonal Injury, Property) a
Damage, Wrongful Death

PLOOLACH [Roy .Innvary 1, 20071
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 5 of 10

PLO-PI004

 

SHORT TITLE: Sohibye v, Harrah's Laughiin, LLG CASE NUMBER:

 

 

 

 

40. The following causes of action are attached and the statements above apply to each (each complaint must hava one or more :
eauses of action attached):

3. [J Motor Vehicle

b, cea General Negligence
c. (Ca.}' Intentional Tort

d; [__]; Products Liability

e. [%] Premises Ltabillty
ft. (7) other (speciy):

 

Tt. Plaintiff has suffered

([3=] wage loss

[=] toss of usa of property

Ce hospital end medical expenses

(21 general damage

Ty property damage

([x] toss of earning capacity

£30) other damage (specify): Severe emotional distress

a*g@ oo & fp

12,{7_] The damages claimed for wrongful death and the relationships of oon to the deceased are
a. [__) Isted in Attachment 12.
b. (_] as follows:

13, The relief sought in this complaint Is within the furisdiction of this court.

14, Plalntiff prays for Judgment for costs of suit; for such relief as fs fair, Just, and equitable; and for
a. (£3) compensatory damages

(2) CXC] punitive damages
The amount of damages ls (in cases for personal injury or wrongful death, you must check (1)):

(1) [7 according to proof

(2) [] in the amount of: $
15. [3¢_] The paragraphs of this complaint alleged on information and bellef are as follows (specify paragraph numbers): 5, a.

Date: . June 2, 2 2020

Kathryn T, Camerlengo
(TYPE OR | PRINT NAME)

PLO-?|-001 (Rev. Jenvery 1, 2007)

COMPLAINT—Perconal Injury, Property ase!
Damage, Wrongful Death

ForyoUrprotocionisnd privacy, plonse prossithe Clear,
This. Rosin: butten: after you: have: printéd;theiform.

 
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 6 of 10

PLD-P1-001(2).

 

| SHORT TITLE: Schibye v, Harrah's Laughlin, LLC CASE NUMBER:

 

 

 

 

—

ARSE CAUSE OF ACTION—General Negligence Page 4
humber

ATTACHMENT TO (_X] Complaint [[_] Cross-Complaint
(Use a separate cause of action form for each cause of action.)

GN-1.Plaintif (name): LENA SCHIBYE
alteges that defendant (name): HARRAH'S LAUGHLIN, LLC

Cc] Does a a= ay =O 210

wvas'the.tegal (progimate)‘cxuse: of daritigés to plaintiff. By the following acts or omissions to act, defendant
hegligenily cauged the damag¢ to plaintiff

on (date}: August 31, 2019
at (place): Harrah's Hotel and Casine in South Lake Tahoe.

(description of reasons for liability):

16, On'Wid:evaning of August 31, 2019, Ms. Schibye and her friend went to Harrah's Hotel and Casino in South Lake.
Tahoe, On thelr way out, Plalntif and her frierid stopped to listen to the music-at the dance floor In Herrah's:éasino.

17, Aiidlelpatron, Hoe, grabbec:and pulled Plaintiff to the-dence tear and immediately became overly aggressive wth
her. Aller Plaintiffwas able fo slep'away; from. Dee 1, he began doricing with Plaintiff's friend. After no more thon a
minute. of Dancing with Doe 1; she too refused to'dance: with hin and suddenly he was grabbing Plaintiff again, Doe 1

spun Plalnuff around with such aggressiveness thet she lost her falance, fell and Injuréd her right wrist.

nile seeomadatinn, awed a duty of reasonable care,to Plaintiff: Spacifically,

18. Defoniient, es of lice sohable éare,to Plainlitt: S
ao éct:-Plaintiff from Injuries ariaing from the-unruly and intoxicated patrons of the

s operator of a place of p

Defendant owed Plaintiff a duty to pra
Casine:

18. By serving alcohol to Doe 1, Defendant-Casino contributed to his Intoxication and failed to properly. secure the dance
aor frem unruly, obnoxious and intoxicated patrons like Dos 1 who foreseeably could injure soméone like Plaintiff,

Page 1 of 1
Code of Ci Procodure 426.12

For Apprved Optional ee CAUSE OF ACTION—General Negligence Fact 2.2

Judicial Council of California
PLD-Pt.001(2) [Rev, January 1, 2007]

For your protection and privacy, please prees the Clear
This Form button after you have printed the form,

or
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 7 of 10

 

eer eee “eitigst PS _ PLD-PI-001(3)

SHORT TITLE: Schibye v. Harrah's Laughlin, LLC © ~~" TCASE NUMBER _

__.... SECOND = =—-§- CAUSE OF ACTION—Intentional Tort Page 5...
(number)

ATTACHMENTTO (XQ Complaint CJ Cross - Complaint

{Use a separate cause of action form for each cause of action.)
IT-1. Plaintiff (name): LENA SCHIBYE
alleges that defendant (name): HARRAH'S LAUGHLIN, LLC

(EX) Does r _ to (10 _

was the lagal (prasiitate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally

on {date}: August 31, 2019
at (oface): Harrah's Hote] and Casino in South Lake Tahoe.

 

{description of reasons for lability):

Casino owners are llable for the actions of other free if the harm Is foreseeable. The courts require casinos to do everything
vepbonably possible to  Brotect their-patrons fram foreseeable events that coukl result in Injuries.

Yrobbed anc pulled -Piaintilf-to.1he Casino'sdance floor, ‘He: inviigdialely
ng HN; Plait cn

 

  

tits (dehd, Bul less tah a minute-of dancing with:him, she
in Pi ‘again, He'spun her acound-will-such-aggrésdiveness

   

   

that 'Sheilost hy fier.b ‘wrist. ‘Aino tinte. did:Pialntiff-do or-say-anything which in anyway justied the
excessive force: cpr sad ‘by ee * A Tho time-dikPlaintt.cansent.to the. acts of ‘Doe: -ay-alleged!abave,

Defendant Harrah's should have removed Doe 1 from the Casino priar to Plaintiff suffering serious Injuries as a result of his
conduct.

Plaintiff on information and bellef contends Defendant Harrah's overly served Doe ¢ alcohol, thus causing him to bacome
overly aggressive toward Plaintiff and causing her Injuries.

 

 

 

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captains a ents . ce aus : 7 Soe wert este Paget of 1
ee eo Nas oeeige CAUSE OF ACTION-Intentlonal Tort Code of Gh Procodur, § 426.12

PLO-PI-004(3) (Rev. January 1, 2007]
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 8 of 10

PLD-PI-001(4

 

“SHORT TITLE: a CASE NUMBER
Schibye v. Harrah's Laughlin, LLC

 

 

 

THIRD _ CAUSE OF ACTiION—Premises Liability Page __SIX _
(number)

ATTACHMENT TO [2] Complaint [CJ Cross - Complaint

(Use a separate cause of action form for each cause of action.)

Prem.L-1. Plaintiff (name): LENA SCHIBYE
alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
On (cate): August 3t, 2019 plaintiff was injured on the following premises in the following

fashion (description of premises and circumstances of injury):

-Acihale patron, Doe 1, grabbed and:pulled Plaintiff to the Deferidant Gasino's daiicé fldog and
immediately became overly aggressive with her. After plaintiff was able to step.away from
Doe 1, he began begat datcing with Plaintiff's friend. After no more thai a:milute of dancing
wilh: Doe [, she téo-reftised to dance vith him and suddenly Doe | was.grabbing: Plaintiff
again. Doe | spun Plaintiff around.with such aggressiveness that she lost her balance, fell and
injured her right wrist.

Premt-2, OZ) count One—Negligence The defendants who nagligently owned, maintained, managed and
operated the described premises were (names):

HARRAH'S LAUGHLIN, LLC

Does 1 to 20

PremL-3. [20] count Two—willful Fallure to Warn [Civil Code section 846] The defendant owners who willfully
or maliciously failed to guard or warn against a dangerous condition, use, structure, or activily were

(names):
HARRAH'S LAUGHLIN, LLC
[7] Does 1 _. to 20

 

Plaintiff, a recreational user, was [1] an invited quest C1] a paying guest.
Pram.L-4. CZ] count Three-——Dangerous Condition of Public Property The defendants who owned public property
on which a dangerous condition existed were (names):

HARRAH'S LAUGHLIN, LLC

[2_J0oes | to 20

a. (1 The defendant public entity had 77) actual Co constructive notice of the existence of the
dangerous condition in sufficient lime prior to the injury to have corrected It.
b. L—_] The condition was created by amployaga af the defendant public entity.

Prem.L-5, a. Allegations about Other Defendants The defendants who were the agents and employees of the
other defendants and acted within the scope of the agency were (names);

E¥) Does 1 to 20

b. [1 The defendants who are liable to plaintiffs for other reasons and the reasons for thelr Ilabillty are
[J described In attachment Prem.L-.b [__] as follows (names):

 

s : Paget ent
Ferm Approved for Optional U ; Te et
eee ecEreoee CAUSE OF ACTION—Premises Liability Code of Cait Pracocre, § 428 12

PLD-Pt-OO 1 (4) [Rew, Janwary 3. 2007}
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 9 of 10

EXHIBIT 2 -
“Proof of Service”

EXHIBIT 2 -
“Proof of Service”
Case 3:20-cv-00533-ART-CSD Document 1-1 Filed 07/24/20 Page 10 of 10

null / ALL
Transmittal Number: 21685433

Notice of Service of Process Date Processed: 06/30/2020

Primary Contact: Service of Process Box
Caesars Entertainment Corporation
1 Caesars Palace Dr
Las Vegas, NV 89109-8969

Electronic copy provided to: Dina Brown
Brenda Sanchez
Belinda BornReid

 

Maya Clark
Entity: Harrah's Laughlin, LLC
Entity ID Number 1721013
Entity Served: Harrah's Laughlin, LLC
Title of Action: Lena Schibye vs. Harrah's Laughlin, LLC
Document(s) Type: Summons/Complaint
Nature of Action: Personal Injury
Court/Agency: Nevada County Superior Court, CA
Case/Reference No: CU20-084677
Jurisdiction Served: Nevada
Date Served on CSC: 06/26/2020
Answer or Appearance Due: 30 Days
Originally Served On: csc
How Served: Personal Service
Sender Information: Kathryn T Cameriengo

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